      Case 3:04-cr-00007 Document 131 Filed on 03/20/07 in TXSD Page 1 of 1




                       IN THE UNITED STATES DISTRICT COURT

                       FOR THE SOUTHERN DISTRICT OF TEXAS

                                   GALVESTON DIVISION

UNITED STATES OF AMERICA                       §
                                               §
VS.                                            §    CRIMINAL NO. G-04-07 (02)
                                               §    CIVIL ACTION NO. G-06-588
ROYAL LEE MAYS                                 §

                                  ORDER OF DISMISSAL

       Pursuant to this Court’ s Opinion and Order of even date herewith, the “ Motion to Vacate,

Set Aside, or Correct Sentence” (Instrument no. 116) of Royal Lee Mays is DENIED in its

entirety.

       THIS IS A FINAL APPEALABLE ORDER.

       DONE at Galveston, Texas, this 20th day of March, 2007.
